Case 1:05-cv-01188-.]DT-STA Document 6 Filed 07/21/05 Page 1 of 2 Page|D 7

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IN THE UNITED sTATEs DISTRICT COURT 05 \
FOR THE WESTERN DISTRICT OF TENNESSEE JUL-?/ D.C_
EASTERN DIVISION 45
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afge/f "/':Zlgi.l 41 , ar
SANI)RA K. WEBB and p;.» .`
/t`s

TABITHA N. WEBB,
Petitioners,
No. 05-1188 T/An

VS.

DAVID L. WOOLFORK,

"_/\_/\_/V\_¢\_l\_/\_/V\_/

Responden t.

 

ORDER SETTING HEARING

 

Before the Court is Petitioners’ Motion for Change of Venue filed on July 5, 2005.
Within the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this
matter. After due consideration, it is ORDERED that a hearing on the Motion to Recuse shall
be held before United States Magistrate Judge S. Thornas Anderson on TUESDAY, AUGUST 2,
2005 at 2:00 P.M. in the Magistrate Judge Courtroom, 4th Floor, United States Cour'thouse, l ll
S. Highland Avenue, Jackson, Tennessee.

lT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Date: Q/(,LQ,_\ `ZO, _ZDO\{

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01188 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

